         Case 1:10-cv-00393-FMA Document 28 Filed 04/08/11 Page 1 of 1


      In The United States Court of Federal Claims
                                            No. 10-393C

                                     (Filed: April 8, 2011)
                                          __________

 AVIATION SOFTWARE, INC. and
 AIRFRAME SYSTEMS, INC.,

                              Plaintiffs,

                       v.

 THE UNITED STATES,

                              Defendant.

                                             _________

                                              ORDER
                                             _________

        Oral argument on defendant’s motion to dismiss will be held in this case on Wednesday,
June 8, 2011, at 2:00 p.m. (EDT), at the United States Court of Federal Claims, 717 Madison
Place, Washington, DC 20005. The courtroom location will be posted in the lobby on the day of
the oral argument.

       IT IS SO ORDERED.



                                                              s/Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
